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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



 FEDERAL TRADE COMMISSION,                                 CASE NO: 1:23-cv-1549

                       Plaintiff,
                                                           [PROPOSED]
                                                           STIPULATED ORDER FOR
        v.
                                                           INJUNCTION AND MONETARY
                                                           JUDGMENT
 RING LLC,
 A Delaware limited liability company,

                       Defendant.



       Plaintiff, the Federal Trade Commission (Commission), filed its Complaint for

Injunction and Other Relief (Complaint) in this matter, pursuant to Section 13(b) of the Federal

Trade Commission Act (FTC Act), 15 U.S.C. §§ 53(b). Defendant has waived service of the

summons and the Complaint. Plaintiff and Defendant stipulate to the entry of this Stipulated Order

for Injunction and Monetary Judgment (Order) to resolve all matters in dispute in this action

between them without requiring the Commission to file an administrative complaint pursuant to

16 C.F.R. Part 3 and then seek monetary relief in federal court pursuant to Section 19(a)(2) of the

FTC Act.

       THEREFORE, IT IS ORDERED as follows:

                                           FINDINGS

1.     This Court has jurisdiction over this matter.

2.     The Complaint charges that Defendant participated in deceptive and unfair acts or

       practices in violation of Section 5 of the FTC Act, 15 U.S.C. § 45, related to the privacy

       and security of video data collected by Defendants home security cameras.
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3.     Defendant neither admits nor denies any of the allegations in the Complaint, except as

       specifically stated in this Order. Only for purposes of this action, Defendant admits the

       facts necessary to establish jurisdiction.

4.     Defendant waives any claim that it may have under the Equal Access to Justice Act, 28

       U.S.C. § 2412, concerning the prosecution of this action through the date of this Order,

       and agrees to bear its own costs and attorney fees.

5.     Defendant and Plaintiff waive all rights to appeal or otherwise challenge or contest the

       validity of this Order.

                                             DEFINITIONS

For purposes of this Order, the following definitions apply:

A.     Affected Work Product means any models or algorithms identified or reasonably

       identifiable by the Defendant as having been developed in whole or in part from review

       and annotation of Pre-March 2018 Covered Recordings.

B.     Affirmative Express Consent means any freely given, specific, informed, and

       unambiguous indication of an individuals wishes demonstrating agreement by the

       individual, such as by a clear affirmative action, following a Clear and Conspicuous

       disclosure to the individual, apart from any privacy policy, terms of service, terms and

       conditions, or terms of use of all information material to the provision of such consent.

       The following actions do not constitute Affirmative Express Consent:

       1.      Acceptance of general or broad terms of use or similar communication;

       2.      Hovering over, muting, pausing, or closing a given piece of content; or

       3.       Agreement obtained through a user interface designed or manipulated with the

       substantial   effect of subverting or impairing user autonomy, decision-making, or choice.




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C.   Authorized User means the primary account holder associated with a Covered Home

     Security Product, and any user of a Covered Home Security Product authorized to access

     the account associated with the Covered Home Security Product by the primary account

     holder.

D.   Clear(ly) and conspicuous(ly) means that a required disclosure is difficult to miss (i.e.,

     easily noticeable) and easily understandable by ordinary consumers, including in all of the

     following ways:

     1.        In any communication that is solely visual or solely audible, the disclosure must be

               made through the same means through which the communication is presented. In

               any communication made through both visual and audible means, such as a

               television advertisement, the disclosure must be presented simultaneously in both

               the visual and audible portions of the communication even if the representation

               requiring the disclosure (triggering representation) is made through only one

               means.

     2.        A visual disclosure, by its size, contrast, location, the length of time it appears, and

               other characteristics, must stand out from any accompanying text or other visual

               elements so that it is easily noticed, read, and understood.

     3.        An audible disclosure, including streaming video, must be delivered in a volume,

               speed, and cadence sufficient for ordinary consumers to easily hear and understand

               it.

     4.        In any communication using an interactive electronic medium, such as the internet

               or software, the disclosure must be unavoidable.

     5.        On a product label, the disclosure must be presented on the principal display panel.




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     6.     The disclosure must use diction and syntax understandable to ordinary consumers

            and must appear in each language in which the triggering representation appears.

     7.     The disclosure must comply with these requirements in each medium through

            which it is received, including all electronic devices and face-to-face

            communications.

     8.     The disclosure must not be contradicted or mitigated by, or inconsistent with,

            anything else in the communication in which the disclosure is made.

     9.     When the representation or sales practice targets a specific audience, such as

            children, the elderly, or the terminally ill, ordinary consumers includes ordinary

            members of that group.

E.   Covered Home Security Camera means any internet-enabled home security camera

     that Defendant designs, markets, and offers to consumers primarily for personal and

     residential use to record video.

F.   Covered Home Security Product means any Covered Home Security Camera and any

     related service that Defendant designs, markets, and offers to consumers to collect or store

     Covered Home Security Recordings (such as a subscription service or mobile application).

G.   Covered Home Security Recording means any pre-recorded or live-streaming audio,

     video, or photographic data collected by or on behalf of Defendant through a Covered

     Home Security Camera and, if such data is pre-recorded, stored by Defendant on behalf of

     the customer, except for audio, video, or photographic data (1) made publicly accessible

     on the internet, or made available to a party other than Defendant, by an Authorized User;

     or (2) submitted, with the Authorized Users Affirmative Express Consent, to the

     Defendant for customer service, marketing, or research and development purposes.




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H.   Covered Incident means any instance: (1) that results in Defendant notifying, pursuant

     to a statutory or regulatory requirement, any U.S. federal, state, or local government entity

     that Covered Home Security Recordings of or about an individual were, or are reasonably

     believed to have been, accessed, acquired, or publicly exposed without authorization; or (2)

     in which Defendant discovers that Covered Home Security Recordings of 10 or more Ring

     Accounts were, or are reasonably believed to have been, accessed, acquired, or publicly

     exposed without authorization. Covered Incident does not include any instance where the

     Covered Home Security Recordings were encrypted and the encryption key was not also

     accessed or acquired by an unauthorized person.

I.   Covered Information means the following information from or about an individual

     consumer that Defendant collects through a Covered Home Security Product, including

     any website or application that Defendant designs, markets, and offers to consumers: (1)

     authentication credential(s) sufficient to provide access to a users Ring Account, such as

     a user name and password; (2) a credit card, debit card, or financial institution account

     number; or (3) a Covered Home Security Recording.

J.   Face Embedding means data, such as a numeric vector, derived in whole or in part from

     an image of an individuals face.

K.   Pre-March 2018 Covered Recordings means Covered Home Security Recordings

     collected before March 1, 2018 and reviewed and annotated by employees or contractors

     for research and development purposes.

L.   Defendant means Ring LLC (Ring) and its successors and assigns.




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M.     Ring Account means any account provided by or on behalf of Defendant to any

       Authorized User through which an Authorized User may access any Covered Home

       Security Recording.

N.     Ring Principal Executive Officer means the individual serving as the Chief Executive

       Officer of Defendant, or such other officer (regardless of title) that is designated in

       Defendants bylaws or by resolution as having the duties of the principal executive officer

       of Defendant, acting solely in his or her official capacity on behalf of Defendant. In the

       event that such position is jointly held by two or more persons, then each of such persons

       shall be deemed to be a Ring Principal Executive Officer.

                                            ORDER

 I.      PROHIBITION AGAINST MISREPRESENTATIONS ABOUT PRIVACY AND
                               SECURITY

       IT IS ORDERED that, for twenty years after entry of this Order, Defendant and

Defendants officers, agents, employees, and attorneys, and all other persons in active concert or

participation with any of them, who receive actual notice of this Order, whether acting directly or

indirectly, in connection with the manufacturing, advertising, promotion, offering, sale, or

distribution of any Covered Home Security Product, must not misrepresent in any manner,

expressly or by implication:

       A.      The extent to which, or the purposes for which, Defendant or any contractor

               working on Defendants behalf accesses, reviews, or discloses Covered

               Information; or

       B.      The extent to which Defendant secures Covered Home Security Products against

               online attacks resulting from external actors misuse of valid authentication

               credentials of users of Covered Home Security Products.



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II.        MANDATED DELETION OF DATA AND AFFECTED WORK PRODUCT

      IT IS FURTHER ORDERED that:

      A.     Defendant and Defendants officers, agents, employees, and attorneys, and all other

             persons in active concert or participation with any of them, who receive actual

             notice of this Order, whether acting directly or indirectly, in connection with the

             manufacturing, advertising, promotion, offering, sale, or distribution of any

             Covered Home Security Product, must, unless prohibited by law:

             1.     Within thirty (30) days of entry of this Order, delete or destroy all Pre-

                    March 2018 Covered Recordings;

             2.     Within ninety (90) days of entry of this Order, delete or destroy all Face

                    Embeddings collected before March 1, 2018 including through any Pre-

                    March 2018 Covered Recordings; and

             3.     Within ninety (90) days of entry of this Order, delete or destroy any

                    Affected Work Product unless such deletion is technically infeasible, in

                    which case the Ring Principal Executive Officer must provide a written

                    statement to the Commission within ninety (90) days of entry of this Order,

                    sworn under penalty of perjury, identifying any such Affected Work

                    Product, certifying that such deletion or destruction is technically infeasible,

                    and providing a reasonable explanation for that determination. The written

                    statement must be based on the personal knowledge of the Principal

                    Executive Officer or subject matter experts upon whom the Principal

                    Executive Officer reasonably relies in making the statement.




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       B.          Defendant must, within ninety (90) days of entry of this Order, provide a written

                   statement to the Commission, sworn under penalty of perjury, confirming the

                   deletion or destruction of all Covered Home Security Recordings, Face

                   Embeddings, and Affected Work Product covered by Subprovision II.A above.

            III.      MANDATED PRIVACY AND DATA SECURITY PROGRAM

       IT IS FURTHER ORDERED that Defendant must, within one hundred and eighty (180)

days of entry of this Order, establish and implement, and thereafter maintain for twenty (20) years

after entry of this Order, a comprehensive privacy and data security program (the Program) that

protects the privacy, security, confidentiality, and integrity of Covered Information. To satisfy this

requirement, Defendant must, at a minimum:

       A.          Document in writing the relevant content, implementation, and maintenance of the

                   Program;

       B.          Provide the written program and any evaluations thereof or updates thereto to a

                   senior officer responsible for the Program at least once every twelve (12) months

                   and, in the event of a Covered Incident, within thirty (30) days after completion of

                   response to the Covered Incident or sixty (60) days after the Covered Incident,

                   whichever is sooner;

       C.          Designate a qualified employee or employees to coordinate and be responsible for

                   the Program;

       D.          Assess and document, at least once every twelve (12) months and, in the event of a

                   Covered Incident, within thirty (30) days after completion of a response to the

                   Covered Incident or sixty (60) days after the Covered Incident, whichever is sooner,

                   internal and external risks to the privacy, security, confidentiality, or integrity of




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       Covered Information (and, if conducted following a Covered Incident, related to

       the Covered Incident) that could result in the (1) unauthorized collection,

       maintenance, use, or disclosure of, or provision of access to, Covered Information;

       or the (2) misuse, loss, theft, alteration, destruction, or other compromise of such

       information;

E.     Design, implement, maintain, and document safeguards that control for the internal

       and external risks Defendant identifies to the privacy, security, confidentiality, or

       integrity of Covered Information identified in response to Subprovision III.D. Each

       safeguard must be based on the volume and sensitivity of Covered Information that

       is at risk, and the likelihood that the risk could be realized and result in the: (1)

       unauthorized collection, maintenance, use, or disclosure of, or provision of access

       to, Covered Information; or the (2) misuse, loss, theft, alteration, destruction, or

       other compromise of such information. Such safeguards must also include:

       1.     Not permitting any human review by Defendants employees or contractors

              of any Covered Home Security Recording, unless, prior to such review,

              Defendant:

              a)      Implements a policy prohibiting such review unless it is:

                      (1)     Required by law or legal process (such as a court order or

                              search warrant);

                      (2)     In connection with an investigation of suspected or actual

                              illegal activity;

                      (3)     To establish, exercise, or defend Defendants legal rights;




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                (4)     Necessary or appropriate to prevent physical or other harm

                        or financial loss; or

                (5)     Otherwise authorized by an Authorized User via Affirmative

                        Express Consent; and

         b)     Requires any employee or contractor in a role that involves

                accessing Covered Home Security Recording(s) for such human

                review to attest that the reviewer will only access or view the

                Covered Home Security Recording for the purpose(s) specified by

                Defendant and for no other purpose; and

         c)     Requires that any such employees or contractors be trained on how

                to review Covered Home Security Recordings in accordance with

                the purpose specified by Defendant.

   2.    Periodically verifying, at least once every twelve (12) months, that the

         Defendant is restricting access to Covered Home Security Recordings as

         required by Subprovision III(E)(1);

   3.    Training of all employees and contractors whose responsibilities include

         access to Covered Information, at least every twelve (12) months, on how

         to safeguard Covered Information; provided, however, that this requirement

         shall not obligate Defendant to provide training to employees and

         contractors whose responsibilities only include access to encrypted Covered

         Information without the ability to decrypt them;




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   4.    Data access controls for employee or contractor access to all databases and

         assets storing Covered Home Security Recordings, including by, at a

         minimum:

         a)     Restricting inbound connections to approved IP addresses or other

                equivalent or stronger protections;

         b)     Requiring multi-factor authentication methods for all employees,

                contractors, and affiliates in order to access any assets (including

                databases) storing Covered Home Security Recordings. Defendant

                may use equivalent industry authentication options that are not

                multi-factor, if the person responsible for the Program under

                Subprovision III.C: (1) approves in writing the use of such

                equivalent authentication options; and (2) documents a written

                explanation of how the authentication options are at least equivalent

                to the security provided by multi-factor authentication;

         c)     Limiting employee or contractor access to Covered Home Security

                Recordings to what is needed to perform that employees or

                contractors job function; and

         d)     Reviewing, at least once every twelve (12) months, employee and

                contractor access to Covered Home Security Recordings to ensure

                that the employee or contractor needs continued access to the

                Covered Home Security Recordings to perform the employee or

                contractors job function; provided, however, that this requirement

                shall not obligate Defendant to implement data access controls for




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                employees and contractors who can only access encrypted Covered

                Home Security Recordings without the ability to decrypt them;

   5.    Technical measures to log and monitor employee and contractor access to

         Covered Information, including each instance in which a Covered Home

         Security Recording is accessed; provided, however, that this requirement

         shall not obligate Defendant to log and monitor access by employees and

         contractors to encrypted Covered Information without the ability to decrypt

         it;

   6.    Technical measures to secure Covered Home Security Products from online

         attacks resulting from the misuse of valid authentication credentials of users

         of Covered Home Security Products, such as:

         a)     Where passwords are used to secure users Ring Accounts, requiring

                that users use strong passwords to secure their Ring Accounts, and

                recommending that they use unique passwords; and

         b)     Requiring multi-factor authentication methods be provided as an

                option for consumers to access Covered Home Security Recordings.

                Defendant may use equivalent industry authentication options that

                are not multi-factor, if the person responsible for the Program under

                Subprovision III.C: (1) approves in writing the use of such

                equivalent authentication options; and (2) documents a written

                explanation of how the authentication options are at least equivalent

                to the security provided by multi-factor authentication; and




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        7.     Encryption in transit and at rest of all Covered Home Security Recordings

               in Defendants control;

F.      Assess, at least once every twelve (12) months and, in the event of a Covered

        Incident, within thirty (30) days after completion of response to the Covered

        Incident or sixty (60) days after the Covered Incident, whichever is sooner, the

        sufficiency of any safeguards in place to address the internal and external risks to

        the privacy, security, confidentiality, or integrity of Covered Information (and, if

        conducted following a Covered Incident, related to the Covered Incident), and

        modify the Program as needed based on the results;

G.      Test and monitor the effectiveness of the safeguards at least once every twelve (12)

        months and, in the event of a Covered Incident, within thirty (30) days after

        completion of response to the Covered Incident or sixty (60) days after the Covered

        Incident, whichever is sooner (and, if conducted following a Covered Incident,

        related to the Covered Incident), and modify the Program as needed based on the

        results. Such testing and monitoring must include:

        1.     Vulnerability testing of Defendants network(s) once every four (4) months

               and, in the event of a Covered Incident, within thirty (30) days after

               completion of response to the Covered Incident or sixty (60) days after the

               Covered Incident, whichever is sooner (and, if conducted following a

               Covered Incident, related to the Covered Incident);

        2.     Vulnerability testing of the Covered Home Security Products before the

               launch of any new Covered Home Security Product or before any material

               change to any Covered Home Security Product, including any material




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               hardware or software update to the Covered Home Security Product and, in

               the event of a Covered Incident relating to a Covered Home Security

               Product, within thirty (30) days after completion of response to the Covered

               Incident or ninety (90) days after the Covered Incident, whichever is sooner;

               and

        3.     Penetration testing of Defendants access controls described in

               Subprovision III.E(4) at least once every twelve (12) months and, in the

               event of a Covered Incident, within thirty (30) days after completion of

               response to the Covered Incident or sixty (60) days after the Covered

               Incident, whichever is sooner (and, if conducted following a Covered

               Incident, related to the Covered Incident);

H.      Select and retain service providers capable of safeguarding Covered Information

        they access through or receive from Defendant, and contractually require such

        service providers to implement and maintain safeguards sufficient to address the

        internal and external risks to the privacy, security, confidentiality, or integrity of

        Covered Information; and

I.      Evaluate and adjust the Program in light of any changes to Defendants operations

        or business arrangements, a Covered Incident, new or more efficient technological

        or operational methods to control for the risks identified in Subprovision III.D of

        this Order, or any other circumstances that Defendant knows or has reason to know

        may have an impact on the effectiveness of the Program. At a minimum, Defendant

        must evaluate the Program at least once every twelve (12) months and modify the

        Program as needed based on the results.




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                        IV.     ASSESSMENTS BY A THIRD PARTY

       IT IS FURTHER ORDERED that, in connection with its compliance with the Provision

of this Order titled Mandated Privacy and Data Security Program, Defendant must obtain initial

and biennial assessments (Assessment(s)):

       A.      The Assessment must be obtained from one or more qualified, objective,

               independent third-party professionals (Assessor(s)) who: (1) use procedures and

               standards generally accepted in the profession; (2) conduct an independent review

               of the Program; (3) retain all documents relevant to each Assessment for five (5)

               years after completion of such Assessment; and (4) will provide such documents to

               the Commission within ten (10) days of receipt of a written request from a

               representative of the Commission. No documents may be withheld by the

               Assessor(s) on the basis of a claim of confidentiality, proprietary or trade secrets,

               work product protection, attorney-client privilege, statutory exemption, or any

               similar claim. Defendant may obtain separate assessments for (1) privacy and (2)

               security, confidentiality, and integrity from multiple Assessors, so long as each of

               the Assessors meets the qualifications set forth above;

       B.      For each Assessment, Defendant must provide the Associate Director for

               Enforcement for the Bureau of Consumer Protection at the Federal Trade

               Commission with the name(s), affiliation(s), and qualifications of the proposed

               Assessor(s), which the Associate Director shall have the authority to approve in her

               or his sole discretion;

       C.      The reporting period for the Assessments must cover: (1) the first year after the

               entry date of the Order for the initial Assessment; and (2) each two-year period




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        thereafter for twenty (20) years after entry of the Order for the biennial

        Assessments;

D.      Each Assessment must, for the entire assessment period:

        1.     Determine whether Defendant has implemented and maintained the

               Program required by Provision III of this Order titled Mandated Privacy and

               Data Security Program;

        2.     Assess the effectiveness of Defendants implementation and maintenance

               of Subprovisions III.A-I;

        3.     Identify any gaps or weaknesses in, or instances of material noncompliance

               with, the Program;

        4.     Address the status of gaps or weaknesses in, or instances of material non-

               compliance with, the Program that were identified in any prior Assessment

               required by this Order; and

        5.     Identify specific evidence (including, but not limited to, documents

               reviewed, sampling and testing performed, and interviews conducted)

               examined to make such determinations, assessments, and identifications,

               and explain why the evidence that the Assessor examined is (a) appropriate

               for assessing an enterprise of the Defendants size, complexity, and risk

               profile; and (b) sufficient to justify the Assessors findings. No finding of

               any Assessment shall rely primarily on assertions or attestations by

               Defendants management. The Assessment must be signed by the Assessor

               and must state that the Assessor conducted an independent review of the

               Program, and did not rely primarily on assertions or attestations by




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               Defendants management, and state the number of hours that each member

               of the assessment team worked on the Assessment. To the extent that

               Defendant revises, updates, or adds one or more safeguards required under

               Subprovision III.E of this Order in the middle of an Assessment period, the

               Assessment must assess the effectiveness of the revised, updated, or added

               safeguard(s) for the time period in which it was in effect, and provide a

               separate statement detailing the basis for each revised, updated, or

               additional safeguard;

E.      Each Assessment must be completed within sixty (60) days after the end of the

        reporting period to which the Assessment applies. Unless otherwise directed by a

        Commission representative in writing, Defendant must submit the initial

        Assessment to the Commission within ten (10) days after the Assessment has been

        completed via email to DEbrief@ftc.gov or by overnight courier (not the U.S.

        Postal Service) to Associate Director for Enforcement, Bureau of Consumer

        Protection, Federal Trade Commission, 600 Pennsylvania Avenue NW,

        Washington, DC 20580. The subject line must begin, FTC v. Ring LLC. All

        subsequent biennial Assessments must be retained by Defendant until the Order is

        terminated and provided to the Associate Director for Enforcement within ten (10)

        days of request. The initial Assessment and any subsequent biennial Assessment

        provided to the Commission must be marked, in the upper right-hand corner of

        each page, with the words DPIP Assessment in red lettering.




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               V.      COOPERATION WITH THIRD-PARTY ASSESSOR(S)

       IT IS FURTHER ORDERED that Defendant, whether acting directly or indirectly, in

connection with any Assessment required by Provision IV of this Order titled Assessments by a

Third Party, must:

       A.      Provide or otherwise make available to the Assessor all information and material

               in its possession, custody, or control that is relevant to the Assessment for which

               there is no reasonable claim of privilege or work product protection;

       B.      Provide or otherwise make available to the Assessor information about Covered

               Home Security Products, Defendants network(s), and all of Defendants IT assets

               that is relevant to the Assessors determination of the scope of the Assessment, and

               to provide visibility to those portions of the networks and IT assets deemed in

               scope; and

       C.      Disclose all material facts to the Assessor(s), and not misrepresent in any manner,

               expressly or by implication, any fact material to the Assessors: (1) determination

               of whether Defendant has implemented and maintained the Program required by

               Provision III of this Order titled Mandated Privacy and Data Security Program; (2)

               assessment of the effectiveness of the implementation and maintenance of

               Subprovisions III.A-I; or (3) identification of any gaps or weaknesses in, or

               instances of material non-compliance with, the Program.

                                    VI.    CERTIFICATIONS

       IT IS FURTHER ORDERED that, one year after the entry date of this Order, and each

year thereafter for twenty (20) years after the entry of this order:




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       A.      Defendant must provide the Commission with a certification from the Ring

               Principal Executive Officer that Defendant:

               1.      Has established, implemented, and maintained the requirements of this

                       Order; and

               2.      Is not aware of any material noncompliance with the requirements of this

                       Order that has not been disclosed to the Commission.

               3.      Each certification must be based on the personal knowledge of the Principal

                       Executive Officer or subject matter experts upon whom the Principal

                       Executive Officer reasonably relies in making the certification; and

       B.      Unless otherwise directed by a Commission representative in writing, Defendant

               must submit all annual certifications to the Commission pursuant to this Order via

               email to DEbrief@ftc.gov or by overnight courier (not the U.S. Postal Service) to

               Associate Director for Enforcement, Bureau of Consumer Protection, Federal

               Trade Commission, 600 Pennsylvania Avenue NW, Washington, DC 20580. The

               subject line must begin, FTC v. Ring LLC.

                           VII.     COVERED INCIDENT REPORTS

       IT IS FURTHER ORDERED that, for twenty (20) years after entry of this order, within

a reasonable time after Defendants discovery of a Covered Incident, but in any event no later than

ten (10) days after the Defendant first notifies any United States federal, state, or local entity of a

Covered Incident or determines that no such notice is needed, the Defendant must submit a report

to the Commission. The report must include, to the extent possible:

       A.      The date, estimated date, or estimated date range when the Covered Incident

               occurred;




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       B.      A description of the facts relating to the Covered Incident, including the causes of

               the Covered Incident, if known;

       C.      The number of consumers whose Covered Home Security Recordings were

               affected by the Covered Incident;

       D.      The acts that Defendant has taken to date to remediate the Covered Incident and

               protect Covered Home Security Recordings from further exposure or access, and

               protect affected consumers from identity theft or other harm that may result from

               the Covered Incident; and

       E.      A representative copy of any materially different notice sent by Defendant to

               consumers or to any U.S. federal, state, or local government entity.

       Unless otherwise directed by a Commission representative in writing, all Covered Incident

reports to the Commission pursuant to this Order must be emailed to DEbrief@ftc.gov or sent by

overnight courier (not the U.S. Postal Service) to Associate Director for Enforcement, Bureau of

Consumer Protection, Federal Trade Commission, 600 Pennsylvania Avenue, NW, Washington,

DC 20580. The subject line must begin, FTC v. Ring LLC.

                             VIII. NOTICES TO CUSTOMERS

       IT IS FURTHER ORDERED that Defendant must:

       A.      Identify all consumers who had Ring accounts before February 1, 2018 (eligible

               customers). Ring must take reasonable efforts to identify such eligible customers,

               and their contact information. Eligible customers include those identified at any

               time;




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B.      Notify all identified eligible customers by emailing each a notice in the form shown

        in Attachment A. The emailing of the notification letter must not include any other

        enclosures; and

C.      Notify all eligible customers within 180 days after the entry date of this Order and

        any eligible customers identified thereafter within 30 days of their identification.

                       IX.     MONETARY JUDGMENT

IT IS FURTHER ORDERED that:

A.      Judgment in the amount of five million eight hundred thousand dollars

        ($5,800,000) is entered in favor of the Commission against Defendant;

B.      Defendant is ordered to pay to the Commission five million eight hundred thousand

        dollars ($5,800,000), which, as Defendant stipulates, their undersigned counsel

        holds in escrow for no purpose other than payment to the Commission; and

C.      Such payment must be made within seven (7) days of entry of this Order by

        electronic fund transfer in accordance with instructions previously provided by a

        representative of the Commission.

              X.      ADDITIONAL MONETARY PROVISIONS

IT IS FURTHER ORDERED that:

A.      Defendant relinquishes dominion and all legal and equitable right, title, and interest

        in all assets transferred pursuant to this Order and may not seek the return of any

        assets;

B.      The facts alleged in the Complaint will be taken as true, without further proof, in

        any subsequent civil litigation by or on behalf of the Commission to enforce its




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        rights to any payment or monetary judgment pursuant to this Order, such as a

        nondischargeability complaint in any bankruptcy case;

C.      The facts alleged in the Complaint establish all elements necessary to sustain an

        action by or on behalf of the Commission pursuant to Section 523(a)(2)(A) of the

        Bankruptcy Code, 11 U.S.C. § 523(a)(2)(A), and this Order will have collateral

        estoppel effect for such purposes;

D.      Defendant acknowledges that its Taxpayer Identification Numbers (Social Security

        Numbers or Employer Identification Numbers), which Defendant must submit,

        may be used for collecting and reporting on any delinquent amount arising out of

        this order, in accordance with 31 U.S.C. § 7701; and

E.      All money paid to the Commission pursuant to this Order may be deposited into a

        fund administered by the Commission or its designee to be used for equitable relief,

        including consumer redress and any attendant expenses for the administration of

        any redress fund. If a representative of the Commission decides that direct redress

        to consumers is wholly or partially impracticable or money remains after redress is

        completed, the Commission may apply any remaining money for such other

        equitable relief (including consumer information remedies) as it determines to be

        reasonably related to Defendants practices alleged in the Complaint. Any money

        not used for such equitable relief is to be deposited to the U.S. Treasury as

        disgorgement. Defendant has no right to challenge any actions the Commission or

        its representatives may take pursuant to this Subprovision.




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                               XI.     CUSTOMER INFORMATION

         IT IS FURTHER ORDERED that Defendant must directly or indirectly provide

sufficient customer information to enable the Commission to efficiently administer consumer

redress. If a representative of the Commission requests in writing any information related to

redress, Defendant must provide it, in the form prescribed by the Commission, within fourteen

(14) days.

                       XII.     ACKNOWLEDGMENTS OF THE ORDER

         IT IS FURTHER ORDERED that Defendant obtain acknowledgments of receipt of this

Order:

         A.      Defendant, within seven (7) of entry this Order, must submit to the Commission an

                 acknowledgment of receipt of this Order sworn under penalty of perjury.

         B.      For three (3) years after the entry date of this Order, Defendant must deliver a copy

                 of this Order to: (1) all principals, officers, directors, and LLC managers and

                 members of Defendant; (2) all employees, agents, and representatives of Defendant

                 managing conduct related to the subject matter of the Order; and (3) any business

                 entity resulting from any change in structure as set forth in the Provision titled

                 Compliance Reporting. Delivery must occur within seven (7) days of entry of this

                 Order for current personnel. For all others, delivery must occur before they assume

                 their responsibilities.

         C.      From each individual or entity to which Defendant delivered a copy of this Order,

                 Defendant must obtain, within thirty (30) days, a signed and dated acknowledgment

                 of receipt of this Order.




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                            XIII. COMPLIANCE REPORTING

      IT IS FURTHER ORDERED that Defendant make timely submissions to the

Commission:

      A.      One year after the entry date of this Order, Defendant must submit a compliance

              report, sworn under penalty of perjury:

              1.     Defendant must: (a) identify the primary physical, postal, and email address

                     and telephone number, as designated points of contact, which

                     representatives of the Commission, may use to communicate with

                     Defendant; (b) identify all of Defendants subsidiaries that collect,

                     maintain, use, or disclose, or provide access to Covered Home Security

                     Recordings by all of their names, telephone numbers, and physical, postal,

                     email, and internet addresses; (c) describe the activities of each such

                     subsidiary, including the goods and services offered, the means of

                     advertising, marketing, and sales; (d) describe in detail whether and how

                     Defendant is in compliance with each Provision of this Order; and (e)

                     provide a copy of each Order Acknowledgment obtained pursuant to this

                     Order, unless previously submitted to the Commission.

      B.      For ten (10) years after entry of this Order, Defendant must submit a compliance

              notice, sworn under penalty of perjury, within fourteen (14) days of any change in:

              (a) any designated point of contact; or (b) the structure of Defendant that may affect

              compliance obligations arising under this Order, including: creation, merger, sale,

              or dissolution of the entity or any subsidiary that engages in any acts or practices

              subject to this Order.




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       C.      Defendant must submit to the Commission notice of the filing of any bankruptcy

               petition, insolvency proceeding, or similar proceeding by or against Defendant

               within fourteen (14) days of its filing.

       D.      Any submission to the Commission required by this Order to be sworn under

               penalty of perjury must be true and accurate and comply with 28 U.S.C. § 1746,

               such as by concluding: I declare under penalty of perjury under the laws of the

               United States of America that the foregoing is true and correct. Executed on:   _____


               and supplying the date, signatorys full name, title (if applicable), and signature.

       E.      Unless otherwise directed by a Commission representative in writing, all

               submissions to the Commission pursuant to this Order must be emailed to

               DEbrief@ftc.gov or sent by overnight courier (not the U.S. Postal Service) to:

               Associate Director for Enforcement, Bureau of Consumer Protection, Federal

               Trade Commission, 600 Pennsylvania Avenue NW, Washington, DC 20580. The

               subject line must begin: FTC v. Ring LLC.

                                   XIV. RECORDKEEPING

       IT IS FURTHER ORDERED that Defendant must create certain records for ten (10)

years after the entry date of the Order, and retain each such record for five (5) years. Specifically,

Defendant must create and retain the following records:

       A.      accounting records showing the revenues from all goods or services sold relating

               to the subject matter of the Order, the costs incurred in generating those revenues,

               and resulting net profit or loss;




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       B.      personnel records showing, for each person who participates in conduct related to

               the subject matter of this Order, whether as an employee or otherwise, that persons:

               name; job title or position; and dates of service;

       C.      records of all consumer complaints and refund requests related to the subject matter

               of this Order received through Defendants customer service channels, and any

               response, except to the extent that deletion of such records has been requested by a

               consumer;

       D.      a copy of each unique advertisement or other marketing material making a

               representation subject to this Order;

       E.      a copy of each widely externally-disseminated representation by Defendant that

               describes the extent to which, or the purposes for which, Defendant or any

               employee or contractor working on Defendants behalf accesses or reviews any

               Covered Home Security Recording; and

       F.      all records necessary to demonstrate full compliance with this Order, including all

               submissions to the Commission, all notices distributed pursuant to Provision VIII,

               and all documents related to Defendants verifications pursuant to Subprovision

               III.E.2.

                            XV.    COMPLIANCE MONITORING

       IT IS FURTHER ORDERED that, for the purpose of monitoring Defendants

compliance with this Order:

       A.      Within fourteen (14) days of receipt of a written request from a representative of

               the Commission, Defendant must: submit additional compliance reports or other




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               requested information, which must be sworn under penalty of perjury, and produce

               records for inspection and copying.

       B.      For matters concerning this Order, representatives of the Commission are

               authorized to communicate directly with Defendant.        Defendant must permit

               representatives of the Commission to interview any employee or other person

               affiliated with Defendant who has agreed to such an interview. The person

               interviewed may have counsel present.

       C.      The Commission may use all other lawful means, including posing through its

               representatives as consumers, suppliers, or other individuals or entities, to

               Defendant or any individual or entity affiliated with Defendant, without the

               necessity of identification or prior notice.   Nothing in this Order limits the

               Commissions lawful use of compulsory process, pursuant to Sections 9 and 20 of

               the FTC Act, 15 U.S.C. §§ 49, 57b-1.

                         XVI. RETENTION OF JURISDICTION

       IT IS FURTHER ORDERED that this Court retains jurisdiction of this matter for

purposes of construction, modification, and enforcement of this Order.



SO ORDERED this _____ day of _____, 2023.


                                                                  United States District Judge




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SO STIPULATED AND AGREED:

FOR PLAINTIFF

FEDERAL TRADE COMMISSION


_/s/ Elisa Jillson______________________
Elisa Jillson (DC Bar No. 989763)
Division of Privacy and Identity Protection
Federal Trade Commission
600 Pennsylvania Ave. NW
Washington, DC 20580
(202) 326-3001 (voice); -3062 (fax)
Email: ejillson@ftc.gov

__/s/ Andrew Hasty_____________________
Andrew Hasty (DC Bar No. 103398)
Division of Privacy and Identity Protection
Federal Trade Commission
600 Pennsylvania Ave. NW
Washington, DC 20580
(202) 326-2861 (voice); -3062 (fax)
Email: ahasty@ftc.gov

__/s/ Miles Plant_______________________
Miles Plant (NY Bar No. 4901583)
Division of Privacy and Identity Protection
Federal Trade Commission
600 Pennsylvania Ave. NW
Washington, DC 20580
(202) 326-2861 (voice); -3062 (fax)
Email: mplant@ftc.gov

__/s/ Julia Horwitz______________________
Julia Horwitz (DC Bar No. 1018561)
Division of Privacy and Identity Protection
Federal Trade Commission
600 Pennsylvania Ave. NW
Washington, DC 20580
(202) 326-2269 (voice); -3062 (fax)
Email: jhorwitz@ftc.gov




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FOR DEFENDANT:

RING LLC


____________________________________              Date: _______________
Aaron McGrath
Authorized Signatory for Ring LLC



____________________________________              Date: _______________
Laura Kim (DC Bar No. 473143)*
Caleb Skeath (DC Bar No. 1030678)*
Nikhil Singhvi (DC Bar No. 496357)
Covington & Burling LLP
One CityCenter, 850 Tenth Street, NW
Washington, DC 20001-4956
(202) 662-5333 (Kim)
(202) 662-5119 (Skeath)
(202) 662-5306 (Singhvi)
Email: lkim@cov.com
Email: cskeath@cov.com
Email: nsinghvi@cov.com

Alexandra Scott (CA Bar No. 320012)*
Covington & Burling LLP
3000 El Camino Real, 5 Palo Alto Square, 10th Floor
(650) 632-4743
Email: ajscott@cov.com

Attorneys for Defendant
*Pro hac vice motion pending




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